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15
                         IN THE UNITED STATES DISTRICT COURT
16                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                  OAKLAND DIVISION
17

18   PATRICK CALHOUN, et al., on behalf of            Case No. 4:20-cv-05146-YGR-SVK
     themselves and all others similarly situated,
19
                                                     PLAINTIFFS’ ADMINISTRATIVE
                            Plaintiffs,              MOTION TO CONSIDER WHETHER
20
                                                     ANOTHER PARTY’S MATERIAL
            v.
21                                                   SHOULD BE SEALED
     GOOGLE LLC,
22                                                   CIVIL L.R. 7-11 and 79-5(f)
                            Defendant.
23
                                                     Referral: Hon. Susan van Keulen, UMSJ
24
                                                     No Hearing Date Set Pursuant to L.R. 7-11(c)
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                                                                      Case No. 4:20-cv-05146-YGR-SVK
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 1           Pursuant to Civil Local Rules 7-11 and 79-5(f) and the Stipulated Protective Order entered
 2   in this matter, Dkt. No. 61, Plaintiffs respectfully submit this Administrative Motion to Consider
 3   Whether Another Party’s Material Should be Sealed, to the extent such material is quoted,
 4   summarized, or otherwise reflected in the documents (or portions thereof) indicated below:
 5
                                            Portions Sought to Be           Evidence offered in Support
 6                Document
                                                     Sealed                         of Sealing
 7                                      Portions highlighted yellow
           Plaintiffs’ Response to      at: 1:6-8, 11, 19-21, 23, 27;
 8         Google’s Objections to       2:1, 9-11, 16, 18, 20, 23, 25,
           Special Master’s Sealed      27-28; 3:1-3, 5-6, 8, 10, 12-      Defendant to provide evidence,
 9    1.
           Recommendations and          13, 15-22, 24-25, 27-28; 4:1-      per L.R. 79-5(f)
10         Order Dated April 4,         28; 5:1-11, 13, 16, 22-27; 6:1-
           2022                         2, 6, 8, 10-27; 7:1-22, 28; 8:1-
11                                      2, 15, 17
           Declaration of Zubair
12         Shafiq in Support of
           Plaintiffs’ response to
13                                                                         Defendant to provide evidence,
      2.   Google’s Objections to       Entire Document
                                                                           per L.R. 79-5(f)
14         Special Master’s April
           4, 2022 Report and
15         Recommendations

16           Paragraph 12.4 of the Stipulated Protective Order prohibits a party from filing materials

17   designated “Confidential” or “Highly Confidential – Attorneys’ Eyes Only” in the public record.

18   Portions of the documents listed above quote, summarize, or otherwise reflect information that

19   Defendant Google LLC has designated “Confidential” or “Highly Confidential -Attorneys’ Eyes

20   Only.” Pursuant to Local Rules 79-5(c)(1) and (f)(3), Defendant, as the Designating Party, bears

21   the responsibility to establish that all of the designated material is sealable.

22           RESPECTFULLY SUBMITTED AND DATED this 25th day of April 2022.

23

24    BLEICHMAR FONTI & AULD LLP                            DiCELLO LEVITT GUTZLER LLC

25                                                          /s/ David A. Straite
      /s/ Lesley E. Weaver
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12   Counsel for Plaintiffs

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                                                  2                      Case No. 4:20-cv-05146-YGR-SVK
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 1                ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)
 2          I, Jay Barnes, attest that concurrence in the filing of this document has been obtained
 3   from the other signatories. I declare under penalty of perjury that the foregoing is true and correct.
 4   Dated: April 25, 2022                                         /s/ Jay Barnes
                                                                   Jay Barnes
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                                                      3                    Case No. 4:20-cv-05146-YGR-SVK
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 1
                                     CERTIFICATE OF SERVICE
 2
            I hereby certify that on April 25, 2022, I electronically filed the foregoing document using
 3
     the CM/ECF system which will send notification of such filing to the e-mail addresses registered
 4
     in the CM/ECF system, as denoted on the Electronic Mail Notice List.
 5

 6                                                               /s/ Jay Barnes
                                                                 Jay Barnes
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                                                    4                     Case No. 4:20-cv-05146-YGR-SVK
                                  PLAINTIFFS’ ADMIN. MOTION TO SEAL
